       Case 6:11-cr-06019-FPG-JWF Document 91 Filed 01/09/13 Page 1 of 2



UNITED STATES DISTRICT COURT
WESTERN DISTRICT OF NEW YORK
_______________________________________________

UNITED STATES OF AMERICA,



                                      Plaintiff,

                                                                    DECISION AND ORDER

                                                                    11-CR-6019L

                       v.

JOSEPH MITCHELL,


                              Defendant.
________________________________________________


       This Court referred all pretrial motions to United States Magistrate Judge Jonathan W.

Feldman pursuant to 28 U.S.C. § 636(b). Defendant, Joseph Mitchell (“Mitchell”), filed several

motions, including a motion to suppress evidence obtained from him in connection with a motor

vehicle stop on March 9, 2008, as well as a motion to suppress evidence obtained pursuant to search

warrants of two residences in Rochester, New York and also a motor vehicle, which were executed

on January 26, 2011. Finally, Mitchell moved to suppress certain statements made by him during

and after his arrest on January 26, 2011.

       Magistrate Judge Feldman held a suppression hearing on the motions and received legal

memoranda from both the Government and defendant subsequent to the hearing.

       On November 7, 2012, Magistrate Judge Feldman issued a thorough Report and

Recommendation (Dkt. #89). The Magistrate Judge carefully set out the facts and the law on the

several motions presented to him and concluded that all the motions to suppress should be denied,

except that defendant’s motion to suppress physical evidence, a large sum of cash seized from his

pockets when ordered to empty his pockets by an officer with the Missouri State Highway Patrol on

March 9, 2008. As to that search, Magistrate Judge Feldman determined that such an order and
       Case 6:11-cr-06019-FPG-JWF Document 91 Filed 01/09/13 Page 2 of 2



search was not reasonable under the Fourth Amendment and that suppression was therefore

warranted. Magistrate Judge Feldman set forth, at some length, his analysis of the law concerning

such seizures and “pat-downs,” especially in the context of automobile stops.

       The parties were notified of the Report and Recommendation filing and the need to file

objections within fourteen days of its issuance. Neither party has filed any objections to the

Magistrate Judge’s Report and Recommendation. Defense counsel advised the Court by letter dated

December 17, 2012 (Dkt. #90) that it did not intend to file objections. The time for the Government

to file objections has long since lapsed.

       Based on the above, I accept and adopt Magistrate Judge Feldman’s Report and
Recommendation. I see no reason to modify, alter or reverse that Recommendation.

       Therefore, I adopt Magistrate Judge Feldman’s recommendation that the motion to suppress

physical evidence be denied in part and granted in part and that the motion to suppress statements

be denied.



                                            CONCLUSION

       I accept and adopt Magistrate Judge Feldman’s Report and Recommendation (Dkt. #89).

Defendant’s motion (Dkt. #57) to suppress statements is in all respects denied. The motions to

suppress physical evidence seized pursuant to the execution of search warrants is in all respects

denied. The motion to suppress physical evidence seized during a stop and search of a 2000 Dodge

Van on March 9, 2008 by Missouri State Highway Patrol Officer is granted and items seized from

defendant when ordered to “empty his pockets” are suppressed.

       IT IS SO ORDERED.



                                       _______________________________________
                                                DAVID G. LARIMER
                                              United States District Judge
Dated: Rochester, New York
       January 9, 2013.



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